190 F.3d 990 (9th Cir. 1999)
    ALEJANDRO MADRID, CARLOS LUTZ, RONNIE DEWBERRY, STEVEN VILLA, BRUCE VORSE,AND MOSES JOHNSON, Individually and on Behalf of all Others Similarly Situated, Plaintiffs-Appellees,v.JAMES GOMEZ, STEVEN CAMBRA, SUSAN STEINBERG, M.D., ROBERT  AYERS,  Defendants-Appellants.
    Nos. 96-17277  97-16237
    UNITED STATES COURT OF APPEALS FOR THE NINTH CIRCUIT
    Argued and Submitted March 10, 1998Opinion Decided July 2, 1998Opinion Withdrawn July 7, 1999Decided August 30, 1999
    
      [Copyrighted Material Omitted]
      William Jenkins (argued), Deputy Attorney General, San  Francisco, California, for the defendants-appellants.
      David S. Steuer, Susan A. Creighton, and Ellen Solomon (argued), Wilson, Sonsini, Goodrich &amp; Rosati, Palo Alto, California;Donald Specter and Steven Farma, Prison Law Office, San Quentin, California, for the plaintiffs-appellees.
      Appeal from the United States District Court  for the Northern District of California  Thelton E. Henderson, Chief District Judge, Presiding.  D.C. No. CV-90-03094-TEH.
      Before: Harlington Wood, Jr.,* Cynthia Holcomb Hall, and  Diarmuid F. O'Scannlain, Circuit Judges.
      O'SCANNLAIN, Circuit Judge:
    
    
      1
      We must decide, in light of the Supreme Court's recent  decision in Martin v. Hadix, 119 S. Ct. 1998 (1999), whether  the district court correctly applied the Prison Litigation  Reform Act in awarding attorney's fees.
    
    
      2
      * This case arose as a prisoner civil-rights class action challenging the conditions of confinement at the Pelican Bay State  Prison in California. Plaintiffs-Appellees Madrid and others ("prisoners") alleged a multitude of constitutional violations, including a pattern and practice of excessive force against  them, provision of inadequate medical and psychiatric care,  and failure to maintain humane housing conditions. After a  three-month trial, the district court verified many of the prisoners' complaints. Finding numerous constitutional infirmities, and concluding that Defendants-Appellants California  Department of Corrections Director Gomez and others  ("prison officials") would not rectify these problems on their  own, the court ordered the parties to collaborate in developing  and implementing a remedial plan.
    
    
      3
      Anticipating that the district court would also order the  prison officials to pay the prisoners' legal expenses during the  remedial phase -and seeking to minimize the procedural  burdens associated with periodic fee awards -the parties  stipulated to, and on September 21, 1995, the district court  authorized, an "informal process" of expediting the payments  of attorney's fees. Pursuant to this stipulation, which reflected  the law at the time, see Pennsylvania v. Delaware Valley Citizens' Council for Clean Air, 478 U.S. 546, 561 (1986); Blum  v. Stenson, 465 U.S. 886, 895 (1984), the prison officials were  to pay fees at the current market rate for all legal services that  were useful and necessary to ensure compliance.1 If the prison  officials ever disputed an amount and refused to pay, the prisoners could seek an order from the district court to resolve the  dispute.
    
    
      4
      Subsequently, on April 26, 1996, Congress enacted the  Prison Litigation Reform Act of 1995 ("PLRA"), Pub. L. No.  104-134, 110 Stat. 1321 (1996), limiting the amount of attorney's fees that can be awarded to prisoners' counsel, thereby  reducing the burden that prisoners' suits have on the public  fisc. Among its restrictions on fee awards, the PLRA caps the  maximum hourly rate2 and prohibits paymentof fees that are not "directly and reasonably" incurred in proving a violation  of prisoners' rights.3 See 42 U.S.C. S 1997e(d).
    
    
      5
      In October 1996, six months after the effective date of the  PLRA, the district court made an award of attorney's fees for  legal services performed prior to the enactment of the PLRA.  In the following June, the district court ordered payment of  fees for services performed subsequent to the enactment of  the PLRA. In neither case did the district court invoke the  PLRA's limitations. According to the court, applying the  attorney's fee provisions to a case which was pending at the  time of the statute's enactment would produce a "retroactive  effect," violative of "basic notions of fair notice, reasonable  reliance, and settled expectations."
    
    
      6
      The prison officials have appealed both district court  orders. We have jurisdiction pursuant to 28 U.S.C.S 1291.4
    
    II
    
      7
      After we issued our prior (now withdrawn) opinion in  this case, see Madrid v. Gomez, 150 F.3d 1030 (9th Cir.  1998), the Supreme Court specifically dealt with how the  attorney's fee provisions of the PLRA apply to cases that  were pending when the Act became effective. In Martin v. Hadix, 119 S. Ct. 1998 (1999), the Court held that the PLRA  "limits attorney's fees with respect to post-judgment monitoring services performed after the PLRA's effective date but it  does not so limit fees for post-judgment monitoring performed  before the effective date." Id. at 2001. Because Martin  directly addresses the legal question presented here, it is dispositive.
    
    
      8
      The Martin Court held that application of the Act's provisions to work performed before the enactment of the Act  would have an impermissible retroactive effect because it  would upset the attorneys' "reasonable expectation[s] that  work they performed prior to the enactment of the PLRA . . .  would be compensated at the pre-PLRA rates . . . . " Id. at  2006. With respect to work performed after the effective date  of the Act, however, the Court concluded that attorneys "were  on notice that their hourly rate had been adjusted " and, thus,  "any expectation of compensation at pre-PLRA rates was  unreasonable." Id. at 2007. Consequently, applying the  PLRA's attorney's fees limitations to work performed after  the Act's effective date "does not raise retroactivity concerns." Id.
    
    
      9
      Here, the district court held that application of the attorney's fees provisions of the PLRA to cases pending before the  Act's effective date, like Madrid, would have an impermissible "retroactive effect," violative of "basic notions of fair  notice, reasonable reliance, and settled expectations." Thus,  the district court refused to apply the PLRA's attorney's fees  provisions to either the October 1996 order (for services performed before the Act's effectivedate) or the June 1997 order  (for services performed after the Act's effective date).
    
    
      10
      In light of Martin, we must conclude that the district  court correctly refused to apply the attorney's fees limitations  in its October 1996 order because, although it was entered  after the PLRA's effective date, the award was for services  performed prior to enactment of the PLRA. Id. The district  court erred, however, in refusing to apply the PLRA's attorney's fees limitations in its June 1997 order because it  awarded fees for services performed after the enactment. Id.  Thus, we affirm the October 1996 order but reverse the June  1997 order and remand with directions to award fees consistent with the fees limitations of the PLRA.
    
    III
    
      11
      The prisoners argue that the PLRA, which limits the  amount of fees paid to prisoners' counsel but not to non-prisoners' counsel, violates the equal protection component of  the Fifth Amendment.
    
    
      12
      * Were we to subject the PLRA's classification to strict  scrutiny, we might well conclude it to be unconstitutional  unless shown to be narrowly tailored to the achievement of a  compelling government interest. See, e.g., Adarand Constructors, Inc. v. Pena, 515 U.S. 200, 227 (1995). We strictly scrutinize a classification, however, only if it discriminates based  on a suspect criterion or impinges upon a fundamental right.  See, e.g., Clark v. Jeter, 486 U.S. 456, 461 (1988).
    
    
      13
      According to the prisoners, strict scrutiny is appropriate in this case because the attorney's fee limitations burden prisoners' fundamental right of access to the courts.5 The  Supreme Court has held that this right of access requires  prison authorities to provide prisoners with "the capability of  bringing contemplated challenges to sentences or conditions  of confinement before the courts." Lewis v. Casey, 518 U.S.  343, 356 (1996). Authorities must, for example, "assist  inmates in the preparation and filing of meaningful legal  papers by providing prisoners with adequate law libraries or  adequate assistance from persons trained in the law." Bounds  v. Smith, 430 U.S. 817, 828 (1977). Prisoners possess a right  of access not only to pursue appeals from criminal convictions but also to assert "civil rights actions, " Wolff v.  McDonnell, 418 U.S. 539, 579 (1974), such as the one  brought by the prisoners at Pelican Bay to vindicate their  Eighth Amendment rights.
    
    
      14
      The scope of the right of access to the courts is quite  limited, however. Prisoners need only have "the minimal help  necessary" to file legal claims. Casey, 518 U.S. at 360. The  Constitution does not even mandate "that prisoners (literate or  illiterate) be able to conduct generalized research, but only  that they be able to present their grievances to the courts." Id.  Certainly, a prisoner has no fundamental right to a high-priced  attorney.6 The PLRA does not restrict access to the courts; at  most, it restricts prisoners' access to the most sought-after  counsel who insist on their going rate for representation.
    
    
      15
      Moreover, "an inmate cannot establish relevant actual  injury simply byestablishing that his . . . legal assistance program is sub-par in some theoretical sense." Id. at 351. The  prisoner must "go one step further and demonstrate that the alleged shortcomings in the . . . legal assistance program hindered his efforts to pursue a legal claim." Id. There has been  no such showing in this case. Thus, we reject the prisoners'  argument that we must subject the PLRA's attorney's fee provision to strict scrutiny.
    
    B
    
      16
      Instead, we simply ask whether there is a rational basis  for the classification. Under this minimal standard, the PLRA  certainly passes constitutional muster. As the Supreme Court  has made clear, "rational-basis review in equal protection  analysis `is not a license for courts to judge the wisdom, fairness, or logic of legislative choices.' " Heller v. Doe, 509 U.S.  312, 319 (1993) (quoting FCC v. Beach Communications,  Inc., 508 U.S. 307, 313 (1993)). Rather, the "legislation is  presumed to be valid and will be sustained if the classification  drawn by the statute is rationally related to a legitimate state  interest." Cleburne v. Cleburne Living Ctr. , 473 U.S. 432, 440  (1985).
    
    
      17
      In this case, the government's interest was apparently  to curtail frivolous prisoners' suits and to minimize the costs  -which are borne by taxpayers -associated with those suits7.  See Zehner v. Trigg, 133 F.3d 459, 463 (7th Cir. 1997);  McGann v. Commissioner of Social Sec. Admin., 96 F.3d 28,  31 (2d Cir. 1996). The prisoners do not deny that this interest  is legitimate. They contend only that the interest is not rationally related to the distinction drawn between prisoners and  all other litigants bringing suits against the state. However, it  is certainly conceivable that, because of significant potential gains and low opportunity costs, prisoners generally file a disproportionate number of frivolous suits as compared to the  population as a whole.8 Such speculation is sufficient for a  rational-basis examination; there is no need for evidence or  empirical data. See Beach Communications, 508 U.S. at 315.  Because the burden is on the prisoners "to negative every conceivable basis which might support" the legislation,  Lehnhausen v. Lake Shore Auto Parts Co., 410 U.S. 356, 364  (1973) (internal quotation marks omitted), and because they  have not done so, their equal protection claim fails.
    
    IV
    
      18
      For the foregoing reasons, we affirm in part, reverse in part  and remand for further proceedings consistent with this opinion.
    
    
      19
      AFFIRMED in part, REVERSED in part and  REMANDED.
    
    
      
        Notes:
      
      
        *
        The Honorable Harlington Wood, Jr., Senior United States Circuit  Judge for the Seventh Circuit, sitting by designation..
      
      
        1
         The district court found that most private attorneys in the Bay area charged hourly rates ranging from $100 upward to $375 or $400, depending on the experience and expertise of the attorney.
      
      
        2
         Section 803(d)(3) of the PLRA provides: the hourly rate established under section 3006A of Title 18, for payment of court-appointed counsel.  PLRA S 803(d)(3) (codified at 42 U.S.C. S 1997e(d)(3)). Section 3006A,  in turn, provides for rates of $40, $60, and (when the Judicial Conference  so provides, as it has for the Northern District of California) $75. See 18  U.S.C. S 3006A(d)(1). 150% of $75 is $112.50. Thus, when the PLRA  applies, the maximum allowable rate is $112.50 per hour, as compared to  the rates authorized by the district court, which ranged from $155 per hour  to $305 per hour. The two attorneys most involved in the remedial phase  of this case charged $305 per hour and $290 per hour, respectively.
        The prisoners point out that the maximum rate under 21 U.S.C.  S 848(q)(10) is $125.00, 150% of which is $187.50. This observation is  not relevant to the issue before us. Section 803 directs us to 18 U.S.C.  S 3006A, not 21 U.S.C. S 848(q)(10). Moreover, nowhere in S 3006A is  S 848(q)(10) even mentioned.
      
      
        3
         Section 803(d)(1) of the PLRA provides in relevant part:
        In any action brought by a prisoner who is confined to any jail, prison, or other correctional facility, in which attorney's fees are authorized under [42 U.S.C. S 1988], such fees shall not be awarded, except to the extent that -(A) the fee was directly and reasonably incurred in proving an actual violation of the plain tiff's rights . . . .
        PLRA S 803(d)(1) (codified as amended at 42 U.S.C. S 1997e(d)(1)).
      
      
        4
         A periodic fee award made during the remedial phase of a prisoner  civil-rights case is appealable if it disposes of the attorney's fees issue for  the work performed during the time period covered by the award. See  Gates v. Rowland, 39 F.3d 1439, 1450 (9th Cir. 1994); Rosenfeld v. United  States, 859 F.2d 717, 720 (9th Cir. 1988); see also Haitian Refugee Center v. Meese, 791 F.2d 1489, 1494 (award finally disposing of issue of attorney's fees for litigating the case up to a particular time was appealable),  vacated in part, 804 F.2d 1573 (11th Cir. 1986).
      
      
        5
         The prisoners also argue that, by making it more difficult to obtain  high-priced counsel, the PLRA impedes their attempts to remedy Eighth  Amendment violations, thereby burdening their right to be free from cruel  and unusual punishment. However, because this contention is simply a  disguised reiteration of their right-of-access claim, we will not address it  separately.
      
      
        6
         An alternative holding would profoundly disrupt the status of the law  on the public provision of attorney's fees. Currently, even fees paid to capital defendants' counsel are capped by statute at $125 per hour, see 21  U.S.C. S 848(q)(10), a far cry from the rates authorized by the district  court in this case, which peaked at $305 per hour.
      
      
        7
         Congress's failure to enunciate its purpose is irrelevant. See Heller,  509 U.S. at 320 ("[A] legislature that creates these categories need not  `actually articulate at any time the purpose or rationale supporting its  classification.' ") (quoting Nordlinger v. Hahn, 505 U.S. 1, 15 (1992)).
      
      
        8
         It does not matter that the prisoners' suit in this case is non-frivolous.  Under the rational-basis test, a court must uphold legislation "if there is  any reasonably conceivable state of facts that could provide a rational  basis for the classification." Beach Communications, 508 U.S. at 313. A  court cannot overturn legislation merely because "there is an imperfect fit  between means and ends." Heller, 509 U.S. at 321.
      
    
    